                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

(1) PAUL A. ROSS,                                      )
                                                       )
                       Plaintiff,                      )
                                                       )
                                                            Case No. 14-cv-783-JHP-PJC
v.                                                     )
                                                       )
(1) SHAWN RASH,                                        )
                                                       )
                       Defendant.                      )

             UNOPPOSED MOTION FOR EXTENSION OF SCHEDULING ORDER

         Defendant Shawn Rash moves the Court for a 90-day extension of the remaining dates in

the current Scheduling Order (Dkt. 13). In support of this Motion, Rash states as follows:

     1. The current Scheduling Order provides for the following remaining deadlines:

         9/16/2015      Exchange and file Final Witness and Exhibit Lists.

         10/16/2015     Discovery Cutoff.

         08/10/2015     All Dispositive Motions.

         11/03/2015     Motions in Limine and Daubert issues filed.

         11/06/2015     Written Settlement Report.

         11/06/2015     Parties to file Deposition/Videotape Designations.

         11/13/2015     Parties to file Counter-Designations.

         11/13/2015     Agreed Pretrial Order due.

         11/13/2015     Agreed Jury Instructions.

         11/20/2015     Parties to file Objections to Designations and Counter-Designations.

         11/20/2015     Pretrial Conference at 9:30 a.m.

         12/15/2015     Jury Trial.

     2. No previous motions for extension of time have been filed.


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     3. Rash seeks an extension of the Scheduling Order for two reasons. First, the parties have

engaged in informal settlement discussions over the last several weeks and wish to allow

sufficient time for discovery if such discussions are not fruitful. Second, the parties wish to allow

sufficient time for discovery given the addition of another defendant, Troy Moran. This

extension is sought in good faith and not for purposes of delay, but to facilitate the orderly and

efficient adjudication of this case.

     4. Rash is authorized to state that Plaintiff has no objection to the filing of this Motion or

the requested extension.

     5. The requested extension will affect all remaining dates in the Scheduling Order, as well

as the trial setting, by ninety days.

     A proposed order is submitted with this Motion.

                                                   Respectfully submitted,



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                                 CERTIFICATE OF SERVICE

     I hereby certify that on July 29, 2015, I electronically transmitted the foregoing document to

the Clerk of Court using the ECF System for filing and transmittal of a Notice of Electronic

Filing to the following ECF registrants:

         Thomas L. Vogt
         Patrick G. Colvin


                                                 s/Barbara M. Moschovidis
                                                 Barbara M. Moschovidis




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